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 1   Martin A. Muckleroy
     State Bar #9634
 2   MUCKLEROY LUNT, LLC
     6077 S. Fort Apache Rd., Ste 140
 3   Las Vegas, NV 89148
     Telephone: 702-907-0097
 4   Facsimile: 702-938-4065
     Email: martin@muckleroylunt.com
 5
     Richard W. Gonnello (pro hac vice)
 6   Email: rgonnello@faruqilaw.com
     Dillon Hagius (pro hac vice)
 7   Email: dhagius@faruqilaw.com
     FARUQI & FARUQI, LLP
 8   685 Third Avenue, 26th Floor
     New York, NY 10017
 9   Telephone: 212-983-9330
     Facsimile: 212-983-9331
10
     Attorneys for Lead Plaintiff Richard Ina, Trustee for the Ina Family Trust
11

12                              UNITED STATES DISTRICT COURT
13                                      DISTRICT OF NEVADA
14

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     IN RE: CV SCIENCES, INC. SECURITIES                 Case No. 2:18-cv-01602-JAD-BNW
16   LITIGATION
                                                         CLASS ACTION
17
     This Document Relates to: All Actions               JOINT STIPULATION AND
18                                                       [PROPOSED] ORDER TO ALTER
19                                                       DISCOVERY DEADLINES (SECOND
                                                         REQUEST) AND DEADLINES
20                                                       RELATED TO MOTION TO COMPEL

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 1          Pursuant to Local Rule 26-4, Lead Plaintiff Richard Ina, Trustee for the Ina Family Trust

 2   (“Plaintiff”), and Defendants CV Sciences, Inc., Michael Mona, Jr., Joseph D. Dowling, and

 3   Michael Mona, III (“Defendants”), by and through their undersigned counsel, hereby stipulate to

 4   extend the discovery deadlines and other deadlines in the February 19, 2020 Stipulated Discovery

 5   Plan and Scheduling Order Pursuant to Fed. R. Civ. P. 26(f) and Local Rule 26-1 (ECF No. 78)

 6   (the “Discovery Scheduling Order”) and Joint Stipulation and Order to Alter Discovery Deadlines

 7   (First Request) (ECF Nos. 83 and 84) as follows:

 8          1. Completed Discovery

 9          The parties have engaged in discovery since the Discovery Scheduling Order was entered

10   in February 2020 and the Stipulated Order was entered in June 2020. In March 2020, the parties

11   exchanged initial disclosures. In April 2020, the parties entered into a protective order (ECF No.

12   81) and Plaintiff served document requests and Plaintiff’s first set of interrogatories and requests

13   for admission on Defendants. In May 2020, Plaintiff served a second set of interrogatories on

14   Defendants Joseph D. Dowling and Michael Mona, III. In June 2020, Defendants served

15   objections and responses to Plaintiff’s discovery requests. Plaintiff thereafter engaged with

16   Defendants in meet and confer efforts concerning their objections and responses to his discovery

17   requests. These efforts are still ongoing with Defendants CV Sciences, Inc. and Joseph Dowling.

18   In July 2020, Defendant CV Sciences, Inc. served requests for production, a request for admission,

19   and interrogatories on Plaintiff. In August 2020, Plaintiff objected and responded to these requests

20   and produced responsive documents. In September 2020, Defendants CV Sciences, Inc. and

21   Joseph Dowling produced documents responsive to Plaintiff’s earlier requests for production.

22   Finally, in October 2020, Plaintiff filed a motion to compel and for sanctions related to the Mona

23   Defendants’ discovery responses (ECF No. 88). This motion is still pending.

24          2. Remaining Discovery

25          Plaintiff is in the process of reviewing CV Sciences, Inc.’s and Joseph Dowling’s document

26   production and may thereafter present any challenges to the production. Moreover, Defendants

27   will need to provide a privilege log for the responsive documents that they have withheld.

28   Defendants are also in the process of reviewing Plaintiff’s document production and may thereafter


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 1   present any challenges to the production. In light of the volume of responsive information that

 2   may still need to be produced and reviewed by the parties, relevant witnesses have not been

 3   completely identified, depositions have not yet been noticed, third-party subpoenas have not been

 4   issued, and class certification discovery has not concluded.

 5          3. Good Cause

 6          Good cause to extend the discovery deadlines set forth in the Discovery Scheduling Order

 7   exists because the current deadline for the end of fact discovery—by which date all depositions

 8   must be completed—is January 8, 2021. The parties will not be able to review documents, resolve

 9   their various pending and potentially upcoming challenges of each other’s responses and

10   productions, or conduct depositions of all witnesses by this date (especially if depositions require

11   parties or their counsel to travel). These concerns are magnified by ongoing difficulties related to

12   the Covid-19 pandemic. Pursuant to Local Rule 26-3, this request is being made more than 21

13   days prior to the January 8, 2021 deadline, and it is the parties’ second request for an extension of

14   the discovery deadlines.

15          4. Current Discovery Deadlines

16          The following dates are the discovery deadlines currently set forth in the Discovery

17   Scheduling Order:

18                 End of Fact Discovery: January 8, 2021

19                 Time from answer to close of fact discovery: 367 days

20                 Motion to Amend or Add New Parties: February 8, 2021

21                 Interim Status Report: March 2, 2021

22                 Expert Report and Disclosures

23                       o Initial Reports Due: March 9, 2021

24                       o Rebuttal Reports Due: April 9, 2021

25                 Close of Discovery: May 6, 2021

26                 Dispositive Motions

27                       o Opening Brief: June 7, 2021

28                       o Opposition Brief: July 22, 2021


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 1                      o Reply Brief: August 12, 2021

 2          5. Proposed Discovery Deadlines

 3          The parties have agreed to an extension of approximately 3.5 months to each of the

 4   deadlines set forth in the current Discovery Scheduling Order, as set forth below:

 5                 End of Fact Discovery: April 22, 2021

 6                 Time from answer to close of fact discovery: 471 days

 7                 Motion to Amend or Add New Parties: May 24, 2021

 8                 Interim Status Report: June 16, 2021

 9                 Expert Report and Disclosures

10                      o Initial Reports Due: June 23, 2021

11                      o Rebuttal Reports Due: July 23, 2021

12                 Close of Discovery: August 20, 2021

13                 Dispositive Motions

14                      o Opening Brief: September 21, 2021

15                      o Opposition Brief: November 5, 2021

16                      o Reply Brief: December 3, 20211

17          NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED by Plaintiff and

18   Defendants, through their respective counsel, to the entry of an Order extending the deadlines in

19   the Discovery Scheduling Order as set forth above.

20          Additionally, Plaintiff and Defendants have met and conferred and stipulate to a brief

21   extension of the Mona Defendants’ time to respond to Plaintiff’s Motion to Compel Discovery

22   from and Sanction the Mona Defendants (ECF No. 88) for one week based on the complexity of

23   the issues raised therein.

24          NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED by Plaintiff and

25   Defendants, through their respective counsel, to the entry of an Order extending the deadline for

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            This deadline is extended by seven additional days to account for the Thanksgiving
28   holiday.

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 1   any Opposition to Plaintiff’s Motion to Compel Discovery from and Sanction the Mona

 2   Defendants (ECF No. 88) to October 26, 2020, with any Reply due by November 2, 2020.

 3                 IT IS SO STIPULATED.

 4                                              Respectfully submitted,

 5   Dated: October 14, 2020                   By: /s/ Richard W. Gonnello
                                               Richard W. Gonnello
 6

 7                                             Martin A. Muckleroy
                                               State Bar #9634
 8                                             MUCKLEROY LUNT, LLC
                                               6077 S. Fort Apache Rd., Ste 140
 9                                             Las Vegas, NV 89148
                                               Telephone: 702-907-0097
10
                                               Facsimile: 702-938-4065
11                                             Email: martin@muckleroylunt.com

12                                             Richard W. Gonnello (pro hac vice)
                                               Email: rgonnello@faruqilaw.com
13                                             Dillon J. Hagius (pro hac vice)
                                               Email: dhagius@faruqilaw.com
14
                                               FARUQI & FARUQI, LLP
15                                             685 Third Avenue, 26th Floor
                                               New York, NY 10017
16                                             Telephone: 212-983-9330
                                               Facsimile: 212-983-9331
17
                                               Attorneys for Lead Plaintiff Lead Plaintiff Richard
18                                             Ina, as Trustee for The Ina Family Trust
19
     Dated: October 14, 2020                   By:    /s/ Eric A. Plourde
20                                                    Eric A. Plourde
21                                             PROCOPIO, CORY, HARGRAVES &
                                               SAVITCH LLP
22                                             Jeffery A. Garofalo
                                               State Bar # 7345
23                                             3960 Howard Hughes Pkwy., Ste 500
                                               Las Vegas, NV 89469
24                                             Tel: 702-216-2685
                                               Fax: 619-788-5535
25                                             E-mail: jeff.garofalo@procopio.com
26                                             S. Todd Neal (pro hac vice)
                                               Eric A. Plourde (pro hac vice)
27                                             525 B Street, Ste 2200
                                               San Diego, CA 92101
28


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                                                                           7


                                                Tel: 619-525-3890
 1                                              Fax: 619-398-0190
                                                E-mail:todd.neal@procopio.com
 2
                                                Attorneys for Defendants CV Sciences, Inc. &
 3                                              Joseph D. Dowling
 4   Dated: October 14, 2020                    By:     /s/Michael D. Maupin
                                                        Michael D. Maupin
 5
                                                MARQUIS AURBACH COFFING
 6

 7                                              Terry A. Coffing
                                                State Bar # 4949
 8                                              Michael D. Maupin
                                                State Bar # 13721
 9                                              10001 Park Run Drive
10                                              Las Vegas, NV 89145
                                                Tel: 702-382-0711
11                                              Fax: 702-856-8972
                                                E-mail: tcoffing@maclaw.com
12                                              E-mail: mmaupin@maclaw.com
13                                              Attorneys for Defendants Michael Mona, Jr. &
14                                              Michael Mona, III

15

16                                              ORDER
17          IT IS SO ORDERED that the Stipulated Discovery Plan and Scheduling Order Pursuant to
     The parties' stipulation is GRANTED in part and DENIED in part.
18   Fed. R. Civ. P. 26(f) and Local Rule 26-1 (ECF No. 78), Stipulated Order to Alter Discovery
     The Court grants the parties' request for a one-week extension of the deadline to file
19   Deadlines
     responses(First  Request)
                 to the motion(ECF   Nos.
                                at ECF No.8388.
                                             and 84), and deadlines related to Plaintiff’s Motion to
20   Compel Discovery from and Sanction the Mona Defendants (ECF No. 88) are amended pursuant
     Regarding the parties' desire to displace the deadlines in the discovery plan and
21   to the terms herein.
     scheduling    order ("DPSO") by 3.5 months, the Court recognizes the complexity of this case
     but it finds that the basis for the parties' request is somewhat speculative (e.g., "potentially
22
     upcoming challenges"). The Court is happy to consider a subsequent extension if the
23   parties can offer more concrete reasons for why discovery cannot be safely completed, but
     for now IT IS ORDERED that the deadlines in the operative DPSO are extended by only
24   30 days.                                            ____________________________________
                                                        IT  IS SO ORDERED
                                                         UNITED   STATES
25                                                       DISTRICT/MAGISTRATE JUDGE
                                                        DATED: 12:21 pm, October 16, 2020
26                                                        DATED: _______________
27

28                                                     BRENDA WEKSLER
                                                       UNITED STATES MAGISTRATE JUDGE

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